Case 07-27059-JAD         Doc 79   Filed 11/15/19 Entered 11/15/19 22:04:14          Desc Main
                                   Document     Page 1 of 4



                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:
                                                Bankruptcy No.: 07-27059-JAD
Corey D. Comperatore,
Helen L. Comperatore,                           Chapter 13
              Debtor(s)
                                                Related to Claim No. 8-1
PNC Bank NA,
                 Movant

                    v.

Corey D. Comperatore,
Helen L. Comperatore,
             Respondent(s)


                      MOTION TO REOPEN CHAPTER 13 CASE
           (For Purposes of Restricting Access to Non-Public Personal Information)

       COMES NOW, PNC Bank NA ("Secured Creditor"), pursuant to Fed. R. Bankr. P. 5010

and 11 U.S.C. § 350(b), and moves this Court to reopen the instant Chapter 13 case for cause,

and as grounds thereof states as follows:

       1. Upon review of the documents filed in this case, Secured Creditor has identified

           issues regarding redaction of non-public personal information. Pursuant to

           W.PA.LBR 9037-1, attached hereto is the Request to Restrict Public Access to Claim

           (Local Bankruptcy Form 37).

       2. Secured Creditor requests the Court reopen the instant case to restrict access to the

           affected documents and allow for remediation of these issues.
Case 07-27059-JAD       Doc 79   Filed 11/15/19 Entered 11/15/19 22:04:14           Desc Main
                                 Document     Page 2 of 4



       WHEREFORE, Secured Creditor, PNC Bank, N.A., respectfully requests this

Honorable Court enter an order reopening the case, and for such other and further relief as the

Court deems just and proper.




                                                   Respectfully Submitted,

                                                   Robertson, Anschutz & Schneid, PL

                                                   By:/s/_Kevin Buttery
                                                       Kevin Buttery, Esquire
                                                       Id No. 319438
                                                       10700 Abbott's Bridge Road
                                                       Suite 170
                                                       Duluth, GA 30097
                                                       470-321-7112
                                                       kbuttery@rascrane.com
Case 07-27059-JAD         Doc 79   Filed 11/15/19 Entered 11/15/19 22:04:14       Desc Main
                                   Document     Page 3 of 4


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                   v.

Corey D. Comperatore,
Helen L. Comperatore,
             Respondent(s)


                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 15, 2019, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, and a true and correct copy has

been served via CM/ECF or United States Mail to the following parties:

Corey D. Comperatore
588 Sarver Road
Sarver, Pa 16055

Helen L. Comperatore
588 Sarver Road
Sarver, Pa 16055

and

By Electronic Notification:

Kenneth M. Steinberg
Steidl & Steinberg
Suite 2830 Gulf Tower.
707 Grant Street
Pittsburgh, PA 15219
Case 07-27059-JAD       Doc 79    Filed 11/15/19 Entered 11/15/19 22:04:14     Desc Main
                                  Document     Page 4 of 4



Ronda J. Winnecour
Suite 3250, USX Tower
600 Grant Street
Pittsburgh, PA 15219

Office of the United States Trustee
Liberty Center.
1001 Liberty Avenue, Suite 970
Pittsburgh, PA 15222




                                                Respectfully Submitted,

                                                Robertson, Anschutz & Schneid, PL
                                                6409 Congress Avenue, #100
                                                Boca Raton, FL 33487
                                                Tel: (561) 241-6901
                                                Fax: (561) 241 -1969

                                                By: /s/ Kayan Johnson_______
                                                Kayan Johnson
                                                Email: kjohnson@rasflaw.com
